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Reg. No. 5,125,593           MATTEL, INC. (DELAWARE CORPORATION)
                             M1-1518
Registered Jan. 17, 2017     333 CONTINENTAL BOULEVARD
                             EL SEGUNDO, CA 90245
Int. Cl.: 9                  CLASS 9: COMPUTER GAME SOFTWARE; VIDEO GAME SOFTWARE; COMPUTER
                             APPLICATION GAME SOFTWARE FOR MOBILE PHONES, PORTABLE MEDIA
Trademark                    PLAYERS, HANDHELD COMPUTERS AND TABLETS

Principal Register           FIRST USE 10-26-2016; IN COMMERCE 10-26-2016

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             OWNER OF U.S. REG. NO. 2008897, 3719355, 1005397

                             The English translation of "UNO" in the mark is "ONE".

                             SER. NO. 86-830,173, FILED 11-24-2015
                             JONATHAN RYA O'ROURKE, EXAMINING ATTORNEY
        Case 1:18-cv-08824-LAP Document 15 Filed 10/18/18 Page 51 of 60



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                   EXHIBIT B
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              Case 1:18-cv-08824-LAP Document 15 Filed 10/18/18 Page 55 of 60
Certificate of Registration
                      This Certificate issued under the seal of the Copyright
                      Office in accordance with title 17, United States Code,
                      attests that registration has been made for the work
                      identified below. The information on this certificate has    Registration Number
                      been made a part of the Copyright Office records.
                                                                                   VA 2-090-581
                                                                                   Effective Date of Registration:
                                                                                   May 22, 2017

                     Acting United States Register of Copyrights and Director




   Title

                        Title of Work:     UNO Game Package (1999)


  Completion/Publication
                  Year of Completion:      1999
               Date of 1st Publication:    February 08, 1999
              Nation of 1
                        st
                           Publication:    United States

  Author

                           Author:         Mattel, Inc.
                    Author Created:        2-D artwork, Text
                 Work made for hire:       Yes
                       Domiciled in:       United States

  Copyright Claimant

                 Copyright Claimant:      Mattel, Inc.
                                          333 Continental Blvd., El Segundo, CA, 90245, United States

  Limitation of copyright claim

       Previous registration and year:    VA 56 1-564, 1993


  Certification

                                Name:     Richelle W. Savage
                                 Date:    May 22, 2017




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                 Case 1:18-cv-08824-LAP Document 15 Filed 10/18/18 Page 57 of 60
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has    Registration Number
                        been made a part of the Copyright Office records.
                                                                                     VA 2-090-583
                                                                                     Effective Date of Registration:
                                                                                     May 22, 2017

                        Acting United States Register of Copyrights and Director




   Title
                           Title of Work:     UNO Game Package (2001)


   Completion/Publication
                     Year of Completion:      2001
                  Date of 1st Publication:    February 11,2001
                 Nation of 1
                           st Publication:    United States

   Author

                       .       Author:        Mattel, Inc.
                        Author Created:       2-D artwork, Text
                     Work made for hire:      Yes
                           Domiciled in:      United States


   Copyright Claimant

                     Copyright Claimant:      Mattel, Inc.
                                              333 Continental Blvd., El Segundo, CA, 90245, United States

   Limitation of copyright claim

           Previous registration and year:    VA 561-564, 1993


   Certification

                                    Name:     Richelle W. Savage
                                     Date:    May 22, 2017




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             Case 1:18-cv-08824-LAP Document 15 Filed 10/18/18 Page 59 of 60
Certificate of Registration
                    This Certificate issued under the seal of the Copyright
                    Office in accordance with title 17, United States Code,
                    attests that registration has been made for the work
                    identified below. The information on this certificate has     Registration Number
                    been made a part of the Copyright Office records.
                                                                                  VA 2-090-587

                    44%.
                    Acting United States Register of Copyrights and Director
                                                                                  Effective Date of Registration:
                                                                                  May 22, 2017




   Title
                       Title of Work:     UNO Game Package (2003)


   Completion/Publication
                 Year of Completion:      2003
              Date of 1st Publication:    February 16, 2003
             Nation of Publication:       United States

   Author

                           Author:        Mattel, Inc.
                    Author Created:       2-D artwork, Text
                 Work made for hire:      Yes
                      Domiciled in:       United States

   Copyright Claimant

                 Copyright Claimant:      Mattel, Inc.
                                          333 Continental Blvd., El Segundo, CA, 90245, United States

   Limitation of copyright claim

       Previous registration and year:    VA 561-564, 1993


   Certification

                                Name:     Richelle W. Savage
                                 Date:    May 22, 2017




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